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                                    Oral Argument Not Yet Scheduled

                                       No. 22-7063


             IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT


             AMERICAN SOCIETY FOR TESTING AND MATERIALS, ET AL.,

                                                      Plaintiffs-Appellants,
                                            v.

                            PUBLIC.RESOURCE.ORG, INC.,

                                                      Defendant-Appellee.


       On Appeal from the United States District Court for the District of Columbia
       Case Nos. 1:13-cv-1215-TSC and 1:14-cv-0857-TSC (Hon. Tanya S. Chutkan)


     CORRECTED BRIEF OF AMICI CURIAE ON BEHALF OF AMERICAN
        NATIONAL STANDARDS INSTITUTE AND SIX STANDARDS
           ORGANIZATIONS IN SUPPORT OF APPELLANTS


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             CERTIFICATE AS TO PARTIES, RULINGS UNDER
                    REVIEW AND RELATED CASES

Pursuant to Circuit Rule 28(a)(1), amici curiae certify as following:

(A) Parties and Amici. In addition to the parties, intervenors, and amici appearing
before the district court and in this court that are listed in the Brief for Plaintiffs-
Appellants, filed September 23, 2022, and any amicus briefs filed prior to this one,
the following amici curiae appear via this brief:

         American National Standards Institute, Incorporated, Amicus Curiae
         American Society of Civil Engineers, Amicus Curiae
         International Code Council, Amicus Curiae
         The Institute of Electrical and Electronics Engineers, Incorporated,
         Amicus Curiae
         National Electrical Manufacturers Association, Amicus Curiae
         North American Energy Standards Board, Amicus Curiae
         ULSE Incorporated, Amicus Curiae

(B) Rulings Under Review. References to the rulings at issue appear in the Brief
for Plaintiffs-Appellants filed September 23, 2022.

(C) Related Cases. This case was previously before this Court in No. 17-7035.
To the knowledge of counsel, other than any cases listed in the Brief for Plaintiffs-
Appellants filed September 23, 2022, there are no other related cases currently
pending in this Court or in any other court.


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  CONCISE STATEMENT OF IDENTITY OF AMICI CURIAE, INTEREST
       IN THE CASE, AND SOURCE OF AUTHORITY TO FILE

         Amici are non-profit standards development organizations (“SDOs”) and a

national standards coordinating institution that participate in developing private

technical and specialized standards. SDOs invest substantial resources to produce

these high-quality standards that are vital to the operation and safety of a range of

industries and products. Consistent with their public-service mission, amici make

these standards easily and widely accessible to the public. The copyright laws make

it possible for SDOs to fund their work through the sale and licensing of their

standards. The 185 privately-authored standards at issue in the current appeal were

selected by the federal government for incorporation into federal statutes and

regulations, including the Code of Federal Regulations.

         American National Standards Institute, Incorporated (“ANSI”) is a not-for-

profit membership organization that, for more than 100 years, has administered and

coordinated the voluntary standardization system in the United States.         ANSI

facilitates the development of American National Standards (“ANS”) by accrediting

the procedures of SDOs. These SDOs work cooperatively to develop voluntary

national consensus standards that are used in virtually every industry sector and in

all aspects of daily life, from toys and food safety to IT and the built environment.

Accreditation by ANSI signifies that the procedures used by the standards developer

in connection with the development of ANS meet ANSI’s essential requirements for
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openness, balance, consensus and due process. Each of the three appellants and each

of the other amici are among the approximately 240 SDOs accredited by ANSI,

known as Accredited Standards Developers (“ASDs”), and they are representative

of ANSI’s broader ASD community.

         The American Society of Civil Engineers (“ASCE”) is a not-for-profit

corporation organized under the laws of the State of New York, with its principal

place of business in Reston, Virginia. Founded in 1852, ASCE is an educational and

scientific society representing more than 150,000 members worldwide, including

some 110,000 engineers and comprising hundreds of technical and geographic

organizations, chapters, and committees. Its objective is to advance the science and

profession of engineering to enhance the welfare of humanity.

         The International Code Council, Inc. (“ICC”) is a non-profit membership

association dedicated to building safety. The International Codes, or I-Codes,

published by ICC, provide one set of comprehensive and coordinated model codes

covering all disciplines of construction including structural safety, plumbing, fire

prevention and energy efficiency. All fifty states and the District of Columbia have

adopted certain I-Codes at the state or other jurisdictional levels. Federal agencies

including the Architect of the Capitol, General Services Administration, National

Park Service, Department of State, U.S. Forest Service and the Veterans

Administration also use I-Codes for the facilities that they own or manage.


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       The Institute of Electrical and Electronics Engineers, Incorporated (“IEEE”) is

 a not-for-profit professional organization dedicated to the advancement of

 technology for the benefit of humanity with a 125-year history of technological

 innovation.     The organization comprises more than 400,000 members who

 participate in its activities across the world in more than 160 countries. IEEE,

 through its Standards Association, comprised of both individual and corporate

 members, is a globally recognized standards development body that has an open and

 inclusive process consistent with the World Trade Organization principles on

 international standardization. IEEE has a portfolio of over 1,000 active standards

 and over 900 standards under development impacting a wide range of industries

 including: power and energy, information technology, telecommunications,

 transportation, nanotechnology, and information assurance.

         National Electrical Manufacturers Association (“NEMA”) is the association

of electrical equipment manufacturers, founded in 1926. NEMA sponsors the

development of and publishes over 500 standards relating to electrical products and

their use. NEMA’s member companies manufacture a diverse set of products

including power transmission and distribution equipment, lighting systems, factory

automation and control systems, building controls and electrical systems

components, and medical diagnostic imaging systems.

         North American Energy Standards Board (“NAESB”) was formed in 1994.

NAESB maintains a membership of over three hundred corporate members
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representing the wholesale gas, wholesale electric, retail gas and retail electric

markets and has more than two-thousand participants active in standards

development.

         ULSE Inc. (“UL”) is an independent, not-for-profit standards developer

dedicated to promoting safe living and working environments since the founding of

its parent Underwriters Laboratories Inc. in 1894. UL’s standards provide a critical

foundation for the safety system in the United States and around the world, as well

as promote innovation and environmental sustainability. With over 120 years of

experience and the development of over 1,500 standards, UL advances safety science

through careful research and investigation.

         The copyrighted standards at issue in this case are part of a large and important

ecosystem of creative works developed by not-for-profit SDOs. SDOs create and

maintain at their own substantial expense their copyrighted standards and make them

available to interested parties, government regulators, and the public at large. Loss

of copyright protection for these works would drastically undermine the ability of

SDOs to fund the ongoing creation and updating of these important works and would

therefore harm the governments and the public who benefit from and rely on the

work of these SDOs. ASCE, ICC, IEEE, NAESB, NEMA and UL are just six of the

hundreds of private SDOs that support their standards development activities through

revenues derived from the publication, sale, and licensing of standards made possible

by the protection of the copyright laws.
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         Amici address the court at this time to present one point they believe is important

to the resolution of the fair use question in this case. Below, we describe for the court

the standards ecosystem in which appellants and amici operate, which we believe the

court must consider in connection with its fair use analysis. Fair use contemplates a

balancing of interests and an equitable rule of reason. In the words of the Supreme

Court, the failure of lower courts to apply “an equitable rule of reason” and balance

the interests of the parties and other members of the public in connection with fair use

analysis is “erroneous.” Sony Corp. of America v. Universal City Studios, Inc., 464

U.S. 417, 454-55 & n.40 (1984) (“Congress has plainly instructed us that fair use

analysis calls for a sensitive balancing of interests.”).

           The standards development ecosystem serves a vital public interest in the

    United States and internationally and weighs heavily, in the view of amici, in favor

    of a conclusion that the balancing of interests does not support the appellee’s view

    of fair use.1




1
 Under Federal Rule of Appellate Procedure 29(a)(4)(E), amici state that no party’s
counsel authored this brief in whole or in part. No party or a party’s counsel contributed
money that was intended to fund preparing or submitting this brief, and no person,
other than the amici curiae contributed money that was intended to fund the preparing
or submitting the brief. All parties consent to the filing of this brief.
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                                    ARGUMENT

       Appellee’s primary position is that because appellants’ privately authored

standards have been referenced in statutes and regulations, including the Code of

Federal Regulations, those works have forever lost their copyright protection. If this

sweeping contention were accepted, it would profoundly harm private SDOs,

governments – state, local, and federal – who benefit from private standards

development, and the public who benefit from standardization’s efficiencies in

hundreds of industries, including improvements in the way product components

interoperate, and the avoided fiscal burden that would result from government

authorship of standards. These legal considerations, which support amici’s position,

are detailed below.

 UNDERSTANDING THE STANDARDS DEVELOPMENT ECOSYSTEM IS
ESSENTIAL TO BALANCING INTERESTS UNDER AN EQUITABLE RULE
              OF REASON IN FAIR USE ANALYSIS

             A. If the District Court’s View Of Fair Use Is Accepted, The Loss of
                Copyright Protection In Standards Would Profoundly Harm SDOs,
                Federal, State and Local Governments and the Public.

                 1.   SDOs Would Be Unable To Fund Standards Development If
                      Deprived Of Revenues From Standards Sales.

         SDOs rely on copyright protection and the ability it affords to generate

 revenue from the sale and licensing of the works they create to sustain their ongoing

 standards creation, refinement, and updating. The development of useful, high-


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quality, up-to-date, consensus-based standards is a costly, time-consuming process.

Drafting standards requires wide-ranging creative input from a variety of concerned

constituencies and sources of expertise, including representatives of the consuming

public, industry, and the public safety and regulatory community. In addition, the

standards drafting process draws heavily on the administrative, technical, and

support services provided by the organizations where the standards are developed.

         NEMA, for example, arranges for hundreds of standards-related meetings that

take place yearly. They provide logistical, administrative, and editorial support to

the hundreds of technical committees that draft and regularly update standards, and

maintain a permanent staff of engineers, technical program managers, and

administrative staff who support their standards activities.           These costs are

commonly underwritten, in whole or significant part, by the revenues made possible

from the copyright-protected sales and licensing of the standards themselves. For

its part, NEMA allocates a substantial portion of the royalties earned from the sale

of standards developed by a given technical committee to the committee’s next

annual budget, thereby reducing the participants’ cost of supporting the committee’s

ongoing work, which in turn results in greater participant involvement.

         Similarly, IEEE uses all sales of codes and standards to fund its not-for-profit

mission, while UL funds its standards-development activities in part from the

licensing of its standards. Amicus ANSI, while not an SDO, similarly funds


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mission-related activities with revenues derived from the sale of standards under

licensing agreements with the SDO copyright holders. Without copyright protection,

others (not just Public.Resource.Org., Inc. (“PRO”), the appellee) would be free to

expropriate and sell or give away the works created or licensed by SDOs, and the

ability of ANSI and these SDOs to sustain their standards coordination and

development activities, as well as other mission-related programs, would be

seriously compromised.

               2.   Governments Would Lose The Ability To Adopt Standards
                    Into Law Or Utilize Standards Themselves.

         The impact of losing copyright protection if appellees’ view of “fair use” were

accepted, however, would be felt by more than just the SDOs. Private standards

development provides federal, state, and local governments with valuable and high-

quality codes and standards that are created at no cost to taxpayers, and governments

at all levels have recognized the importance of privately developed codes and

standards by adopting them in great numbers.

         In recognition of the benefits of private standards development, the federal

government has long made it a policy to adopt such standards unless there is a valid

reason for not doing so. That policy is expressed by the Office of Management and

Budget (“OMB”) in Circular A-119, which directs all federal agencies to incorporate

“in whole, in part, or by reference” privately developed standards for regulatory and

other activities “whenever practicable and appropriate.” OMB Circular A-119, 63

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    Fed. Reg. 8546, 8554-55. OMB Circular A-119 expressly acknowledges that doing

    so “[e]liminate[s] the cost to the government of developing its own standards.” Id.

    at 8554. Importantly, for this policy to succeed, private authors must have an

    incentive to create works useful to the government. OMB thus requires agencies to

    “observe and protect the rights of the copyright holder and any other similar

    obligations.” Id. at 8555. This policy of federal government use of privately

    developed standards was codified and fortified in the National Technology Transfer

    and Advancement Act of 1995 (“NTTAA”).

          OMB revised Circular A-119 on January 27, 2016, 81 FR 4673 (January 27,

    2016), and made clear the government’s position on copyright when standards are

    referenced by federal agencies in agency regulations. After noting that the Office

    of Federal Register (“OFR”) had, in November 2014, developed a rule to ensure that

    standards referenced in federal agency regulations were “reasonably available” (see

    discussion below), OMB stated that OFR had “balanced its statutory obligations

    regarding reasonable availability of the standards with: (1) U.S. copyright law, (2)

    U.S. international trade obligations, and (3) agencies' ability to substantively

    regulate under their authorizing statutes,”2 and then directed in Circular A-119:

                 If an agency incorporates by reference material that is
                 copyrighted or otherwise subject to legal protection and

2
  OMB Circular A-119 at 7, available at
https://obamawhitehouse.archives.gov/sites/default/files/omb/inforeg/revised_
circular_a- 119_as_of_1_22.pdf.
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                 not freely available, the agency should work with the
                 relevant standards developer to promote the availability of
                 the materials, consistent with applicable law, such as
                 through the use of technological solutions, low-cost-
                 publication, or other appropriate means, while respecting
                 the copyright owner’s interest in protecting its intellectual
                 property.3

          Importantly, the Freedom of Information Act (“FOIA”) provides an effective

    mechanism to balance the rights of copyright holders in standards incorporated by

    reference with the public’s right to access the law. Specifically, FOIA expressly

    authorizes reference by the Code of Federal Regulations (“CFR”) to materials

    incorporated by reference, with the approval of the OFR, that are “reasonably

    available to the class of persons affected thereby.” 5 U.S.C. Section 552(a)(1). In

    other words, a standard is eligible for incorporation by reference only if the federal

    agency wishing to include the standard determines that it is “reasonably available”

    to the class of persons affected by the anticipated public law.

          The “reasonably available” approach was reaffirmed by the OFR in response

    to a petition signed by a number of petitioners, including PRO.4 That petition asked

    the National Archives and Records Administration (“NARA”) to define “reasonably

    available” in the regulations to require free access to standards incorporated by



3
  Id. at 21 (emphasis supplied). OMB added, “If a standard is used and published in
an agency document, your agency must observe and protect the rights of the
copyright holder . . .”
4
  See Petition submitted by Peter Strauss et al, February 21, 2012.
http://www.gpo.gov/fdsys/pkg/FR-2012-02-27/pdf/2012-4399.pdf.
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reference into the CFR. The OFR rejected this request, reaffirming in its Final Rule

on November 7, 2014, that “reasonably available” means that the standard is

accessible to any potential user but does not require that the standard be available

without a fee. 79 Fed. Reg. 66267 (November 7, 2014). Instead, the OFR announced

non-confiscatory revisions to its rules, including clarifying that government agencies

“should collaborate with the [SDOs] and other publishers of [incorporated by

reference] materials, when necessary, to ensure that the public does have reasonable

access to the referenced documents.” Id. at 66268. The government’s balancing of

interests by requiring reasonable access as a precondition to referencing a standard in

a regulation satisfies the alleged purpose of making standards available under Factor

1 of the fair use analysis.

         As the federal policy reflected in OMB Circular A-119, the NTTAA, and the

OFR’s rulemaking make clear, the U.S. government has important interests at stake

and the effective destruction of copyright protections in SDO-developed standards

incorporated by reference would have a damaging impact on the federal government.

Indeed, according to the U.S. National Institute of Standards and Technology

(“NIST”), federal government agencies engage in standardization in a wide range of

mission specific roles, including contributing to development of standards in the

private sector, ensuring that standards are not used as technical barriers to trade by

trading partners, using standards for procurement or regulatory actions, and


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    addressing competition-related aspects of standards-setting activities.

          The federal government also itself relies heavily on privately developed

    standards to serve diverse regulatory objectives. For example, the Federal Energy

    Regulatory Commission (“FERC”) uses incorporation by reference to make

    standards developed by NAESB mandatory for participants in the wholesale energy

    markets. The use of consensus standards reduces the cost to agencies due to

    economies of scale resulting from using the same standards for government as are

    used for the commercial sector, and while simultaneously spurring innovation and

    greater product choice.5

          At the state and local level, as is the case at the federal level, it is fair to say

    that governments could not effectively function without privately developed

    standards. Virtually all safety regulation requires expertise and experience that is

    beyond the resources of government agencies alone to marshal. A prime example

    of this governmental reliance is in the regulation of buildings and their related

    systems such as heating and cooling, plumbing, and electrical. Virtually all state and

    local plumbing and mechanical codes are based on a model building code developed

    by an SDO.

5
 See Testimony of Mary H. Saunders, Director, Standards Coordination Office
National Institute of Standards and Technology U.S. Department of Commerce
Before the House Committee on Science, Space, and Technology, Subcommittee on
Technology and Innovation, February 29, 2012, available at
https://science.house.gov/sites/republicans.science.house.gov/files/documents/hearin
gs/HHRG-112-SY19-WState-MSaunders-20120228.pdf
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         SDOs like amici, in furtherance of their not-for-profit safety and welfare

purposes, make available the use of their works by governmental entities in setting

safety and other regulations when those entities deem it in the public interest. They

do so with the understanding that these works will retain their copyright protection

while still being made reasonably available to anyone who needs them in order to

comply with the law or to participate in the government programs that incorporate

those works. Indeed, for these works to have any utility for the governments that

utilize them, they must be made generally and reasonably available, and it is in the

interests of the SDOs to see that they are.

       In keeping with the “reasonably available” requirement, amici make their

standards available through multiple distribution channels, including online “reading

rooms” and retail sales sites, and they offer them in a variety of formats, including

subscriptions, compilations, and various other electronic products. ANSI, for

example, offers an Incorporated By Reference (“IBR”) Portal that provides free,

read-only, online access to a number of standards that have been incorporated by

reference. NEMA relies upon the ANSI IBR Portal to host 25 of its standards that

have been incorporated by reference in federal regulations. UL and IEEE host their

own IBR portals that provide free, read-only, online access to each of their standards

that have been incorporated by reference. NAESB provides free access to its

standards through requests of waivers and requests for access through an electronic


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product that allows for electronic review for a limited period, at no fee. The

appellants make their standards that have been incorporated by reference available

through a similar mechanism.

               3.   The Public Would Be Harmed By Lost Efficiencies And
                    Increased Opportunity Costs.

         The lessening of copyright protection in standards ultimately would have the

greatest negative impact on the very group that the PRO in this case purports to

represent – citizens whose access to the law is allegedly compromised because they

may have to pay for a copy of a standard. Indeed, the public has the most to lose if

copyright protection is lost every time federal, state, or local governments

incorporate a standard into law.

         If SDOs lose copyright protection in standards, they may be forced to increase

stakeholder participation fees in order to offset the loss of revenues from the sale of

standards. This would, in turn, disenfranchise consumers, small businesses, and

local governments and potentially result in a situation where those with money could

have a disproportionately increased influence over the standards development process.

This would also likely result in fewer and lower-quality standards for use by the

consuming public. The lack of industry-wide contributions and fewer participants

in the standards development process would result in less transparency, diminished

inclusivity, and standards becoming less broad- based.

         Equally significant, if SDOs lose copyright protections in their standards,

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governments may be compelled to develop more detailed regulations afresh,

resulting in increased regulatory costs that would be passed on to consumers. If for

example NAESB could no longer afford to stay in the standards-writing space and

FERC took over the task of writing standards, the process probably would be done

substantially less efficiently and more costly. FERC has explained that “[f]rom our

experience, the NAESB process is [a] far more efficient and cost effective method of

developing technical standards for the industries involved than the use of a notice and

comment rulemaking process involving numerous technical conferences in

Washington that all believe they have to attend,” concluding that “the benefits of

having a well-established, consensus process outweigh whatever costs non-members

may incur in having to obtain copies of the standards.”6


              4.   United States Industry Role in Establishing Standards for New
                   and Emerging Technologies Would Be Diminished.

         Finally, if SDOs were forced to withdraw from standards development

because they could no longer fund their operations, standards for new and emerging

technologies could go undeveloped in the United States. The United States, as a

leader in innovation through industry-led standards development, would be

negatively impacted.     Because standards development is so costly – in time,



6
 Standards for Business Practices and Communication Protocols for Public
Utilities, Final Rule, 74 Fed. Reg. 63,287, 63,302 (Dec. 3, 2009).

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personnel, travel and international membership fees – if U.S. SDOs were to lose

copyright revenue and pull back from engagement in standards development

activities, the United States would reduce or even lose its role in international

standards development organizations and technical committee work. This, in turn,

could allow countries, particularly those for which government funding rather than

industry funding drives the standardization process, to play a greater role in

contributing to standards adopted by the international community. This could result

in fewer opportunities for U.S. companies and workers in industries driven by

standardization activities and fewer opportunities for U.S. products, innovations, and

services to be produced and sold around the world.

         The importance of reliable, consistent funding of U.S. standards development

through copyright-based revenue is an issue that extends beyond leadership and

involvement in standards development work: standards are a tremendous part of

international market access and related issues that have been negotiated as part of

the United States Mexico Canada Agreement (USMCA) and continue to be

negotiated as part of other trade agreements.

        B.    The Federal Government’s Current Policies Relative to
              Incorporation By Reference Reflect A Proper Balancing of Interests
              With The Standards Ecosystem Consistent With The Fair Use
              Doctrine.

         As the foregoing discussion demonstrates, the interests of governments and

standards development organizations are well balanced under current federal policy
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that protects the copyright interests of standards development organizations while

providing public policy with informational resources that advance government

interests. Current federal policy has reasonably and “sensitively” balanced the

private interests of copyright holders and the public. Amici submit that the District

Court was right when it concluded in connection with granting appellants’ first

motion for summary judgment, “[h]owever, changes to the statutory or regulatory

framework that reconsider the balancing of interests underlying modern copyright

law and incorporation by reference must be made by Congress, not this court.” Am.

Soc’y for Testing & Materials v. Public.Resource.Org, Inc., 2017 U.S. Dist. LEXIS

14623 at *47 (D.D.C. 2017). That conclusion is highly relevant to the balancing of

interests contemplated by the fair use doctrine in this case.

         Indeed, it is precisely this balancing that permits this Court to avoid reaching

a Constitutional question. A rule that the incorporation of a standard by a legislature

or administrative body deprives the copyright owner of its property would, as one

court observed, “raise very substantial problems under the Takings Clause of the

Constitution.” CCC Information Services v. Maclean Hunter Market Reports, Inc.,

44 F.3d 61, 74 (2d Cir. 1994), cert. denied, 516 U.S. 817 (1995); Practice Mgmt.

Information Corp. v American Medical Association, 121 F.3d 516, 520 (9th Cir.

1997), cert. denied, 524 U.S. 952 (1998) (same concern). When considering the

construction of Section 107 of the Copyright Act, this Court should balance the


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interests in a manner that forecloses a Takings Clause problem.

                                 CONCLUSION

             For the forgoing reasons, amici respectfully ask this honorable

Court to enter judgment for appellants.




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                                   Respectfully submitted,

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       This brief complies with the type-volume limitation of Fed. R. App. P. 29(a)(5)

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Dated: October 28, 2022

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         I HEREBY certify that on this October 28, 2022, a true and correct copy of

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Dated: October 28, 2022
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